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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ALABAMA
SOUTHERN DIVISION

IN RE

Mag. J. No.

GRAND JURY INVESTIGATION: FILED EX PARTE UNDER SEAL

APPLICATION FOR EX PARTE ORDER

 

APPLICATION FOR EX PARTE ORDER
TO DISCLOSE RETURNS AND RETURN INFORMATION

COMES NOW the United States of America, by and through its attorney, Sean P.
Costello, United States Attorney for the Southern District of Alabama, and Gloria A. Bedwell,
Assistant United States Attorney for the Southern District of Alabama and, pursuant to 26 U.S.C.
§ 6103(1)(1), makes application to the Court for an ex parte order directing the Internal Revenue
Service (IRS) to disclose to the applicant (and others hereinafter named) income tax returns and

return information of the following:

which income tax returns and return information are described as those returns and return
information for the taxable periods 2017 through the present.

In support of its application, applicant alleges and states the following:

(1) There is reasonable cause to believe, based upon information gathered during an
ongoing law enforcement investigation, that violations of Title 18, United States Code, Section

922(a)(1)(A) have been committed. Based upon information obtained to date. there is reason to
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believe that the above-named individual may be involved in the business of importing,
manufacturing or dealing in firearms without a federal firearms license, or in the course of such
business to ship, transport, or receive any firearm in interstate or foreign commerce, in violation
of federal law. To prove this offense, the evidence must establish that the defendant engaged in
the business of dealing in firearms, that the defendant did not have a license issued under federal
law, and the defendant acted knowingly and willfully. The Government’s burden for this

offense is to prove that the defendant has guns on hand or is ready and able to procure them the

purpose of selling them from time to time.

 

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Conclusion
Based upon this investigation, there is reasonable cause to believe that
participating in activities which establish that he appears to be engaging in the business of

receiving, possessing and selling firearms without a federal license. These activities have

resulted in the generation of income attributable to a

 
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(2) It is believed haf income tax records, to include the returns and return
information for 2017, 2018, 2019, and 2020 will assist in the above investigation by allowing
law enforcement to assess the nature of the legitimate income, if any, reported on these
documents. In addition, the requested tax records will aid in determining if the returns were
used to conceal these illegal activities in some manner. The tax returns may show a large
discrepancy between the amount of income reported to the government versus the amount of
funds deposited into 2: accounts.

(3) The income tax returns and return information are sought exclusively for use in a
federal criminal investigation or proceeding concerning above mentioned acts.

(4) The information sought to be disclosed cannot reasonably be obtained, under the
circumstances, from another source.

The United States also requests the Court to order the Internal Revenue Service to certify,
where income tax returns and return information described above have not been filed or are not
on file with the Internal Revenue Service, that no such income tax returns and return information
have not been filed or are on file.

The United States also requests the Court to order the Internal Revenue Service to
disclose such income tax returns and return information described above as come into the
possession of the Internal Revenue Service subsequent to the date of this Order, but for not
longer than 90 days thereafter.

The applicant further alleges and states that, in addition to herself, ATFE Special Agents
Anna Beth Evans and Tom Nevin are personally and directly engaged in investigating this case.

The information sought herein is solely for our use for that purpose. No disclosure will be made
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to any other person except in accordance with the provisions of 26 U.S.C. §6103 and 26 C.F.R.
§301.6103(i)-(1).

The application is authorized by Sean P. Costello, United States Attorney for the
Southern District of Alabama, as indicated below.

The applicant further states that the subject of this Application is the subject of a pending
grand jury investigation in this district, publication of the Application and Order would
compromise that investigation and statutory grand jury secrecy requirements, and the failure to
seal the Application and Order would result in the public disclosure of confidential information
relating to the identified taxpayers and entities related to them.

Therefore, the applicant prays that this Court enter an order, ex parte and under seal, on
this Application granting disclosure by the Internal Revenue Service of the income tax returns
and return information specified in this Application. The applicant has submitted a separate
motion seeking permission to substitute redacted copies prior to the unsealing of this matter, and
moves the Court to allow the substitution of redacted copies of these materials to be filed when
the case is unsealed to avoid disclosure of non-public information, which would impair the
ongoing investigation.

Respectfully submitted,

SEAN P. COSTELLO
UNITED STATES ATTORNEY

By: s/ Gloria A. Bedwell
Gloria A. Bedwell
Assistant United States Attorney
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AUTHORIZATION FOR EX PARTE APPLICATION

 

The undersigned, being the United States Attorney for the Southern District of Alabama,
pursuant to Title 26, United States Code, Section 6103(1)(1), hereby authorizes the foregoing
Application for Ex Parte Order for Disclosure of Tax Returns and Return Information.

Dated: August 4, 2021 albus Fis has

Sean P. Costello
United States Attorney

 
